                   Case 4:11-cr-00156-JM                     Document 757             Filed 12/17/14          Page 1 of 1
         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                    UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas

                   UNITED STATES OF AMERICA
                              V.
                                                                                       Case
                                                                                                     4:11CR00156-06-JLH
                            Selvin Garcia-Garcia                                       Number:
                                                                                       USM           26644-009

Date of Original Judgment:                          January 22, 2013

Date of Previous Amended Judgment: N/A                                                 N/A
(Use Date of Last Amended Judgment if Any)                                             Defendant’s Attorney



        ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        X the defendant    G the Director of the Bureau of Prisons       X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             G DENIED.
             X GRANTED and the defendant’s previously imposed sentence of imprisonment of
                   135 months is reduced to 121 months.




Except as provided above, all provisions of the judgment dated January 22, 2013 will remain in effect.

IT IS SO ORDERED.

Order Date: December 17, 2014                                                    ______________________________________
                                                                                 United States District Judge

Effective Date: November 1, 2015
                (If different from order date)


                                                              Page 1 of 2
